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  1                         UNITED STATES DISTRICT COURT

  2                           SOUTHERN DISTRICT OF OHIO

  3                                WESTERN DIVISION

  4        __________________________________________________

  5        ROGER PAUL LANKFORD,           :

  6                  Plaintiff            :

  7           -vs-                        : CASE NO. 1:14-CV-682

  8        RELADYNE, LLC, ET AL, :

  9                  Defendants           :

 10        __________________________________________________

 11

 12                     Deposition of CHARLES ANTHONY DOWNS, a

 13        witness herein, taken by the Defendants as upon cross

 14        examination and pursuant to the Federal Rules of

 15        Civil Procedure as to the time and place and

 16        stipulations hereinafter set forth, at the offices of

 17        Britton & Associates, 201 Riverside Drive, Suite 2-B,

 18        Dayton, Ohio at 11:44 a.m. on June 30th, 2015, before

 19        Lainey Fergueson, a CSR, and Notary Public within and

 20        for the State of Ohio.

 21

 22

 23                            *     *    *     *     *    *

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  1                                QUICK REFERENCE INDEX

  2        WITNESS:       CHARLES ANTHONY DOWNS

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  5                                      DX       CX       RDX       RCX

  6        BY:    MR. MANSELL             -        4        -         -

  7

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 18

 19                               INFORMATION REQUESTED

 20                                      NOT APPLICABLE

 21

 22                                  *        *        *    *    *

 23

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 16                                *     *     *    *     *

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  1       WHEREUPON:

  2                           CHARLES ANTHONY DOWNS,

  3       of lawful age, a witness herein, being first duly

  4       sworn as hereinafter certified, testified as

  5       follows:

  6                                CROSS-EXAMINATION

  7       BY MR. MANSELL:

  8                  Q.     All right.      Mr. Downs, will you please

  9       state your name for the record?

 10                  A.     Charles Anthony Downs.

 11                  Q.     And do you go by Tony?

 12                  A.     Correct.

 13                  Q.     And, Mr. Downs, I'm an attorney that

 14       represents Paul Lankford in this matter, and you've

 15       already been deposed one time, but just as a

 16       reminder, she's taking everything down and we need

 17       to help her out by not talking over each other and

 18       giving verbal answers.            Is that fair?

 19                  A.     That's fair.

 20                  Q.     The same rule applies that if you need

 21       a break, let me know and we'll be happy to get you

 22       one as long as you answer any question that is

 23       pending.        Is that fair?

 24                  A.     That's fair.

 25                  Q.     Any reason that you would not be able



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  1       to recall facts truthfully or accurately today?

  2                  A.    No.

  3                  Q.    All right.       Mr. Downs, tell me when you

  4       first became aware of, how you first became aware

  5       that Mr. Lankford was going to be taking a leave of

  6       absence?

  7                  A.    He called me one afternoon and said he

  8       had to check himself into rehab in Florida and he

  9       would be gone, approximately, 35 days, and I told

 10       him to take all the time he needed.                 We were here

 11       to support him, and it was a short conversation.

 12                  Q.    Did you talk about paperwork or

 13       anything of that nature?

 14                  A.    I did not.

 15                  Q.    Did you inform anybody in human

 16       resources about Mr. Lankford's need to take a leave

 17       of absence for rehab?

 18                  A.    The best I can recall was we have two

 19       people in my office who handled HR at that time and

 20       I informed them.

 21                  Q.    And who was that?

 22                  A.    Chris Chaille and Ann Boeckermann.

 23                  Q.    And you informed both of them?

 24                  A.    Correct.

 25                  Q.    And did they tell you to do anything



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  1       else at that point?

  2                  A.    No.

  3                  Q.    Were you, did you play any part in the

  4       paperwork that Mr. Lankford was to fill out or --

  5                  A.    No.

  6                  Q.    And did you have any more conversations

  7       with Mr. Lankford prior to him going to inpatient

  8       care?

  9                  A.    What do you mean prior conversation?

 10       About him going into rehab?

 11                  Q.    Yes.     Before he actually went into

 12       rehab.

 13                  A.    No, that was the first.

 14                  Q.    You just had that one conversation and

 15       then he went, as far as you know, he went off to

 16       rehab?

 17                  A.    Correct.

 18                  Q.    All right.       Did you have any role or

 19       responsibility informing his customers that he was

 20       going to be taking a leave of absence?

 21                  A.    No.    We did not inform any customers,

 22       to the best of my knowledge.

 23                  Q.    Was anybody going to be covering his

 24       accounts?

 25                  A.    We had some inside salespeople.                Every



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  1       outside guy has an inside person, and they were

  2       going to handle it.

  3                  Q.    So if a customer wants to get ahold of

  4       an outside guy and he's sitting down meeting with

  5       another customer, will the call get forwarded to

  6       the inside sales --

  7                  A.    No, not forwarded.          But most of the

  8       customers knew who their inside contact was.

  9                  Q.    So if they couldn't get ahold of the

 10       outside guy and they need something quickly, they

 11       could go to the inside guy?

 12                  A.    Correct.

 13                  Q.    Did you have any conversations with

 14       Walt Rodgers about Mr. Lankford's need to take a

 15       leave of absence prior to Mr. Lankford actually

 16       going into rehab?

 17                  A.    No.

 18                                (WHEREUPON, Plaintiff's Exhibit 7

 19       was marked for identification.)

 20       BY MR. MANSELL:

 21                  Q.    All right.       I'm handing you what's been

 22       marked as Plaintiff's Exhibit 7.                Have you seen

 23       this e-mail thread before?

 24                  A.    No.

 25                  Q.    All right.       Is the bottom e-mail, and



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  1       e-mails go in reverse chronological order how they

  2       print out.       The bottom of the e-mail here is from

  3       Bob Johnson to yourself and Dan Oehler dated

  4       February 3rd, 2014.

  5                                Do you see that?

  6                  A.    Uh-huh.

  7                  Q.    Yes?

  8                  A.    Yes.

  9                  Q.    And do you have any reason to doubt

 10       that you didn't get that e-mail?

 11                  A.    No.     I get 200-and-some a day so

 12       there's no way I'm going to remember e-mails.

 13                  Q.    Sure.     And so, the top e-mail is a

 14       response from you back to Bob Johnson and Dan

 15       Oehler shortly after the first e-mail; is that

 16       accurate?

 17                  A.    Uh-huh, yes.

 18                  Q.    And who is Bob Johnson?

 19                  A.    He is a national sales manager.

 20                  Q.    And at the time in February 2014 is

 21       that the position he held?

 22                  A.    Yes.     And at one time, I do not know

 23       the dates, he was, he acted as our sales manager

 24       when we did not have one for Cincinnati.                   He's over

 25       the entire RelaDyne corporation.



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  1                  Q.    And you're telling Bob Johnson and Dan

  2       Oehler that Mr. Lankford has told some he is out on

  3       medical leave?

  4                  A.    That's what it states, correct.

  5                  Q.    Do you remember having a conversation

  6       with Dan Oehler on February 3rd about medical leave

  7       related to Paul?

  8                  A.    No.

  9                                (WHEREUPON, Plaintiff's Exhibit 8

 10       was marked for identification.)

 11       BY MR. MANSELL:

 12                  Q.    I'm handing you what's been marked as

 13       Plaintiff's Exhibit 8.            What did we call the first

 14       one?

 15                  A.    Seven.

 16                  Q.    All right.       Have you had a chance to

 17       review this document?

 18                  A.    Almost.

 19                  Q.    Okay.     Let me know when you're ready.

 20                  A.    (Witness reviews document.)              Okay.

 21                  Q.    All right.       The bottom, the first

 22       e-mail, which is on the bottom of the page on

 23       Plaintiff's Exhibit 7, and then the top e-mail is

 24       another response from you but now a little over a

 25       day later on February 4th, 2014.



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   1                                Do you see that?

   2                  A.    Yes.

   3                  Q.    All right.      And you say, FYI, Paul L.

   4       checked himself into rehab last Thursday in Florida

   5       for 35 days due to drinking.              Do you know what

   6       prompted you to send this e-mail a day later?

   7                  A.    What prompted me?

   8                  Q.    Yes.    You originally responded that

   9       Paul has been telling some people he's out on

  10       medical leave, and then a day later you go into

  11       some detail for Dan and you actually take off

  12       Mr. Johnson and add Doug Oehler on it.                  I just want

  13       to know if you recall any specific reason as to

  14       why --

  15                  A.    Just informing them.

  16                  Q.    Okay.    And why are you informing them?

  17       Who are Dan and Doug Oehler?

  18                  A.    Doug is my direct boss.            He's regional

  19       VP, and Dan is VP of sales.

  20                  Q.    Was Doug your direct boss at the time?

  21                  A.    Yes.

  22                  Q.    And was Dan Oehler also in your chain

  23       of command?

  24                  A.    My chain of command, he's a VP so he is

  25       in the chain of command when it comes to sales.



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   1                                (WHEREUPON, Plaintiff's Exhibit 9

   2       was marked for identification.)

   3       BY MR. MANSELL:

   4                  Q.    All right.      I'm handing you what's been

   5       marked as Plaintiff's Exhibit 9.               Tell me when

   6       you're ready.

   7                  A.    Okay.

   8                  Q.    And you would agree that Plaintiff's

   9       Exhibit 9 has the same two e-mails at the bottom as

  10       Exhibit 8, but now has a response from Dan Oehler

  11       at the top, approximately, five minutes after you

  12       sent your e-mail?

  13                  A.    Correct.

  14                  Q.    And he copies Walt Rodgers on it, as

  15       well.    Do you see that?

  16                  A.    Correct.

  17                  Q.    Who is Walt Rodgers at this time?

  18                  A.    VP of HR.

  19                  Q.    All right.      And Dan Oehler says, Tony,

  20       you did not tell me.          I found out yesterday from

  21       Bob Johnson.       I'm in Houston, and we will need to

  22       discuss this.        We have too many signs to ignore and

  23       not proactively address.

  24                                Do you recall having a discussion

  25       with Mr. Oehler shortly after this e-mail?



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   1                  A.    No.

   2                  Q.    Okay.    Is it possible that you had a

   3       conversation and you just don't remember?

   4                                MR. WINTERS:       Objection.       I've

   5       asked him not to speculate on possibilities.                    He

   6       can tell you what he remembers.

   7                                MR. MANSELL:       Okay.

   8       BY MR. MANSELL:

   9                  Q.    You can answer that question.              Are you

  10       telling me you do not remember or are you saying

  11       that conversation did not occur?

  12                  A.    I do not remember.

  13                  Q.    What was your understanding of

  14       Mr. Oehler's last sentence, we have too many signs

  15       to ignore and not proactively address?                  What was

  16       your understanding of what that meant?

  17                  A.    It did not mean anything to me.               I just

  18       read it and went on.

  19                  Q.    I'm handing you what's been previously

  20       marked as Plaintiff's Exhibit 3.               It's the same

  21       e-mail chain we've been discussing, but now you

  22       have forwarded the e-mail chain to David Luke and

  23       Tim Mastropaolo about six minutes later.

  24                                Do you see that?

  25                  A.    Yes.



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   1                  Q.    And do you recall why you would forward

   2       this e-mail chain to David Luke?

   3                  A.    Yes.    Because he was in charge of the

   4       investigation with Paul.

   5                  Q.    What investigation with Paul?

   6                  A.    When we first found out there was a

   7       problem with missing product.

   8                  Q.    And why would you send this to Tim

   9       Mastropaolo?

  10                  A.    He is my operations manager who also

  11       gets a lot of calls from customers.                 He's part of

  12       the management team so I forwarded it to him to let

  13       him know what was going on.

  14                  Q.    What in this e-mail chain did you feel

  15       was necessary information for David Luke to have?

  16                  A.    All of it.

  17                  Q.    Okay.    So the fact that Paul checked

  18       himself into rehab last Thursday in Florida for 35

  19       days due to drinking was information you wanted

  20       David Luke to have?

  21                  A.    If it was in the e-mail, I wanted him

  22       to have it.

  23                  Q.    Can you explain to me how that's

  24       relevant to any investigation?

  25                  A.    You would have to ask him.



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   1                  Q.    Oh, did he ask you to give him any

   2       information about Paul Lankford?

   3                  A.    No.     He was conducting an investigation

   4       so I thought it was best he knew of any e-mails or

   5       any information.

   6                  Q.    What do you recall, or how do you

   7       recall first being notified that there was an issue

   8       regarding Paul Lankford that warranted an

   9       investigation?

  10                  A.    To the best of my knowledge, David Luke

  11       and Tim Mastropaolo approached me that there was

  12       some issues.       Didn't go into it at great detail,

  13       but it was given the okay for David Luke to pursue

  14       the investigation by, I don't know.                 I didn't

  15       approve it per se, but between me, Tim, and David,

  16       we said we had to pursue the investigation.

  17                                (WHEREUPON, Plaintiff's Exhibit 10

  18       was marked for identification.)

  19       BY MR. MANSELL:

  20                  Q.    Okay.     I'm handing you what's been

  21       marked as Plaintiff's Exhibit 10.                All right.       Have

  22       you seen this or do you agree that this is an

  23       e-mail chain that you are either copied on or

  24       sending?

  25                  A.    Correct.



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   1                  Q.    And the second page is titled,

   2       investigation into misappropriation of product?

   3                  A.    Correct.

   4                  Q.    I want to turn to that second page.

   5                  A.    Uh-huh.

   6                  Q.    I want you to drop down to about the

   7       middle of the page where the paragraph, it says,

   8       upon.    Do you see that?

   9                  A.    Yes.

  10                  Q.    Do you recall Bruce Gee making a

  11       complaint, or did Bruce Gee make a complaint to

  12       you?

  13                  A.    He never approached me.            It was

  14       between, I don't know if he approached David Luke

  15       or Tim or both.         I have no idea who he approached

  16       first.

  17                  Q.    When did you first become aware that

  18       Bruce Gee had approached anyone?

  19                  A.    When Tim and David Luke told me the

  20       first about it.

  21                  Q.    The second, the next paragraph down, it

  22       states that Tim contacted David Luke to look into

  23       the matter on January 14th, 2014.                Do you believe

  24       that's when you found out is, approximately,

  25       mid-January?



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   1                  A.    To the best of my knowledge, yes.

   2                  Q.    Did you have any input at that time?

   3                  A.    No.

   4                  Q.    Now, were you aware of a promotion that

   5       Mr. Lankford had with the Covington Auto Body?

   6                  A.    What I was aware of, Paul came to me

   7       and wanted to do a donation, and that's all I

   8       recall of that and the auto body.

   9                  Q.    Did you approve it?

  10                  A.    Correct.

  11                  Q.    Do you recall when that, approximately,

  12       was?

  13                  A.    No, I do not.

  14                  Q.    All right.      And so, I wanted you to go

  15       back to the first page now.             It's an e-mail, the

  16       bottom e-mail is from David Luke to yourself and

  17       Tim Mastropaolo dated January 7, 2014, and it

  18       states, here is a written report on the allegations

  19       against Paul Lankford.

  20                                Do you see that?

  21                  A.    Yes.

  22                  Q.    Is this the first time the report was

  23       sent to you January 27, 2014?

  24                  A.    To the best of my knowledge, yes.

  25                  Q.    Okay.    And what did you do with the



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                                                                                  17


   1       report when you got it?

   2                  A.    I read it and then I forwarded it to

   3       Ann, who was also helping in HR and payroll, and

   4       she's also our controller.             Tim was responsible at

   5       that time for doing outside sales commission and

   6       was in charge of doing the entire payroll for our

   7       staff.     And she does accounting and then she had,

   8       she was responsible, she had the personnel files,

   9       as well, access to the personnel files along with

  10       Chris.

  11                  Q.    So you don't send it right away, you

  12       receive it on a Monday and you don't send it to Ann

  13       Boeckermann until Tuesday of the following week.

  14       Do you see that?

  15                  A.    Yes.

  16                  Q.    Why did you wait so long?             Any reason

  17       you can recall?

  18                  A.    I could have been out of town.               I could

  19       have been with, I have no idea where I was or why I

  20       waited.

  21                  Q.    All right.      And why would Ann

  22       Boeckermann, why would she need this document?

  23                  A.    She's part of the management team and

  24       HR so I felt she needed to be in the loop.

  25                  Q.    All right.      Did you forward this



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   1       particular document to anybody else?

   2                  A.    To the best of my knowledge, no.

   3                  Q.    After you received this e-mail with the

   4       report, the one-page report from David Luke on

   5       January 27th, did you have any conversations

   6       between January 27th and February 4th with Mr. Luke

   7       or Mr. Mastropaolo related to the report?

   8                  A.    I do not remember.

   9                  Q.    Was it your understanding that Mrs.

  10       Boeckermann would, well, what was your

  11       understanding what Ms. Boeckermann would do with

  12       the report?

  13                  A.    I had no plans of doing anything other

  14       than just to inform her of what was going on.

  15                  Q.    Do you believe that you were aware of

  16       the allegations against Mr. Lankford prior to him

  17       going on leave?

  18                  A.    No.    I did not know anything about the

  19       allegations.

  20                  Q.    If you look on the second page of

  21       Exhibit 10, that third paragraph up from the

  22       bottom, it starts with, upon hearing this

  23       allegation --

  24                  A.    Uh-huh.

  25                  Q.    -- the last sentence says, once Tim had



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                                                                                  19


   1       this information, he contacted me to look into this

   2       matter on January 14th, 2014.              Do you see that?

   3                  A.    Yes.

   4                  Q.    And Mr. Lankford didn't call you until

   5       the end of January to go on medical leave, correct?

   6                  A.    Correct.

   7                  Q.    So you believe that you weren't

   8       informed of the allegations prior to looking at

   9       that January 14th date and knowing that Mr.

  10       Lankford didn't go on leave until the end of the

  11       month?     Do you believe you didn't know of the

  12       allegations prior to Mr. Lankford going on leave?

  13                  A.    With the dates, I cannot recall.

  14                  Q.    But you didn't have a conversation with

  15       Mr. Lankford about the allegations prior to him

  16       going on leave, did you?

  17                  A.    No.

  18                  Q.    Do you think it was appropriate to have

  19       a conversation with Mr. Lankford to determine what

  20       his side of the story was?

  21                               MR. WINTERS:        Are you asking him

  22       if he should have had a conversation with him?

  23                               MR. MANSELL:        Yeah.

  24                               MR. WINTERS:        Well, no, because I

  25       think he's told you he wasn't sure when he learned



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   1       about it, and then he also told you he didn't --

   2                               MR. MANSELL:        Gary, no more

   3       speaking objections.          You're speaking on the

   4       record.     If you have an objection --

   5                               MR. WINTERS:        I am making my

   6       objection.

   7                               MR. MANSELL:        Then say objection.

   8       If you keep speaking, we're going to stop the

   9       deposition.

  10                               MR. WINTERS:        Whatever you want,

  11       but I have made my objection.              He may answer your

  12       question.       I haven't --

  13                               MR. MANSELL:        Will you repeat the

  14       question?

  15                               (WHEREUPON, the reporter read back

  16       the requested portion of testimony.)

  17                               THE WITNESS:        To the best of my

  18       knowledge with not having the dates when he called,

  19       it did not even enter my mind.               So, like I said, I

  20       don't know exactly when him and David Luke informed

  21       me so I cannot answer that question.

  22       BY MR. MANSELL:

  23                  Q.    Were you part of the investigation?

  24                  A.    No.

  25                  Q.    Were you part of the decision process



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   1       of terminating Mr. Lankford?

   2                  A.    No.    I did not fight it when I got the

   3       word from Walt saying per the ethical violation on

   4       the handbook.        Then I took it from there.

   5                  Q.    So whether or not the decision was made

   6       before or after you talked with Mr. Lankford, that

   7       wasn't a concern of yours?             You weren't a part of

   8       the investigation?

   9                  A.    I was not part, correct, but I do

  10       remember when I informed Mr. Luke that he was going

  11       into rehab, he said he was conducting an

  12       investigation and we couldn't do anything until he

  13       came back.

  14                  Q.    I want you to look back on Exhibit 9,

  15       the e-mail you sent to Dan and Doug Oehler

  16       informing them of Mr. Lankford's rehab and leave of

  17       absence, among other things, is dated February 4th,

  18       2014 at 8:57 a.m.

  19                               Do you see that?

  20                  A.    Correct.

  21                  Q.    All right.      And then Mr. Oehler

  22       responds shortly after that and then after having,

  23       and then I want to jump back to Exhibit 10.                    Now,

  24       after having the report for over a week, you now,

  25       for the first time, forward the report to Ann



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   1       Boeckermann, who was acting as human resources.

   2                               Is there any reason that you

   3       waited a week-and-a-day, but only less than an

   4       hour-and-a-half after you had some e-mails back and

   5       forth about Mr. Lankford's rehab, is there any

   6       connection there?

   7                               MR. WINTERS:        Objection, I think

   8       it's confusing.        You may answer if you understand.

   9                               THE WITNESS:        Well, let's see, I

  10       have five locations, over 100 associates, I'm in

  11       and out of the office.           So I have no idea.          I can

  12       be behind my desk sometimes and can reply,

  13       sometimes I have to wait a day.               It could be two

  14       days so I do not recall, but there is a, are you

  15       asking was there a connection?

  16       BY MR. MANSELL:

  17                  Q.    Did somebody tell you to forward this

  18       report to Ann Boeckermann?

  19                  A.    No.

  20                  Q.    Did you have a conversation with Dan

  21       Oehler or Doug Oehler about the report that's

  22       attached to Exhibit 10?

  23                  A.    To the best of my knowledge, I never

  24       talked to Dan or Doug about the investigation.

  25                  Q.    I'm handing you what's been previously



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   1       marked as Plaintiff's Exhibit 5.               It's three pages.

   2       There's an e-mail chain on the first page, and then

   3       two pages of an attachment.

   4                  A.    Okay.

   5                  Q.    All right.      I want you to first look at

   6       the second and third pages of Exhibit 5.                   The

   7       second page appears to be the initial report you

   8       received back in January, correct?

   9                  A.    Correct.

  10                  Q.    And then the second page is additional

  11       notes on the report after a February 4, 2014 visit

  12       by David Luke to Covington Auto Body.                 Do you see

  13       that?

  14                  A.    Yes.

  15                  Q.    Were you aware that Mr. Luke was going

  16       to Covington Auto Body on February 4th?

  17                  A.    He did not tell me to the best of my

  18       knowledge beforehand, but I was informed, I

  19       believe, after the fact, but I do not remember if

  20       it was before or after.

  21                  Q.    All right.      And if you look at the

  22       bottom of Page 1, there's an e-mail from David Luke

  23       to yourself and Tim Mastropaolo dated February 5th,

  24       2014 at 11:11 a.m.

  25                                Do you see that?



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   1                  A.    Yes.

   2                  Q.    And you forwarded that e-mail and the

   3       two-page report to Dan Oehler and Doug Oehler on

   4       February 5th, 2014 at 11:17 a.m., approximately,

   5       six minutes later.          Do you see that?

   6                  A.    Correct.

   7                  Q.    All right.      Why did you forward this

   8       report to Dan Oehler?

   9                  A.    To inform them of where we were on the

  10       investigation.

  11                  Q.    But prior to this, you hadn't talked

  12       with him at all about the investigation?

  13                  A.    To the best of my knowledge, no.

  14                  Q.    And you hadn't forwarded him any

  15       e-mails --

  16                  A.    To the best of my knowledge, yes.

  17                  Q.    Is there a reason why you're sending it

  18       to Dan Oehler and copying it to Doug since Doug is

  19       your direct supervisor?            I just didn't know if

  20       there was any reason why Dan is the recipient and

  21       Dan is copied?

  22                  A.    No idea why I did that, no.             As long as

  23       they both got it, I was not concerned with --

  24                  Q.    All right.      Now, the top e-mail is an

  25       e-mail from Dan Oehler to Walt Rodgers and you're



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                                                                                  25


   1       copied on it.        Do you see that?

   2                  A.     Correct.

   3                  Q.     Dated February 5th, 2014 at 10:57 p.m.?

   4                  A.     Yes.

   5                  Q.     It says, Walt, Tony may have sent this

   6       to you also, but I want to make sure that you have,

   7       as well.        I discussed with Tony today my thoughts,

   8       but we need to consult with you regarding his rehab

   9       condition.

  10                                 Do you see that?

  11                  A.     Correct.

  12                  Q.     Okay.    And the first part of the second

  13       sentence, I discussed with Tony today my thoughts,

  14       do you recall having a conversation with Dan Oehler

  15       on February 5th, 2014?

  16                  A.     No, I do not.

  17                  Q.     Do you remember any thoughts on this

  18       subject that Mr. Oehler shared with you?

  19                  A.     No, I do not.

  20                  Q.     Okay.    And the second part of sentence,

  21       we need to consult with you regarding his rehab

  22       condition, do you remember consulting with Walt

  23       Rodgers regarding Mr. Lankford's rehab condition?

  24                  A.     No.

  25                  Q.     Did Dan Oehler give the go-ahead to



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                                                                                  26


   1       fire Mr. Lankford?

   2                  A.    To the best of my knowledge, I received

   3       the authority from Walt Rodgers, nothing from Dan

   4       Oehler.

   5                  Q.    Would Dan Oehler, in your experience,

   6       have the authority to terminate one of your sales

   7       reps?

   8                  A.    With him being the vice-president, I

   9       would believe, whatever he told me to do, I would

  10       do.

  11                                (WHEREUPON, Plaintiff's Exhibit 11

  12       was marked for identification.)

  13       BY MR. MANSELL:

  14                  Q.    I'm going to hand you what's been

  15       marked as Plaintiff's Exhibit 11.                Let me know when

  16       you've had a chance to review that.

  17                  A.    Okay.

  18                  Q.    Okay.    And so, the bottom two e-mails

  19       on the page is what we've seen previously that

  20       David Luke forwarded you and then you forwarded it

  21       on to Dan and Doug Oehler, correct?

  22                  A.    And Doug Oehler in this e-mail chain

  23       responds to you, and Dan Oehler and says, the last

  24       two reports from Paul are terrible and really

  25       questions many things going on.               I would like to



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   1       make a change in this territory.               Reps need to be

   2       reliable and trusted.           He has proven different in

   3       many cases.

   4                                Did I read that correctly?

   5                                MR. WINTERS:       You did not.        It

   6       says, I would like to make a change, and he

   7       wrote I would plan.

   8       BY MR. MANSELL:

   9                  Q.    Let's strike that then.            I would plan

  10       to make a change, starting on the second sentence,

  11       I would plan to make a change in this territory.

  12       Reps need to be reliable and trusted.                 He has

  13       proven different in many cases.

  14                                Did I read that correctly?

  15                  A.    Yes.

  16                  Q.    And it was your understanding that the

  17       last two reports Mr. Oehler is referring to are the

  18       reports from, on Mr. Lankford going out on medical

  19       leave that you explained in your e-mail on February

  20       4th and the two-page report attached to the e-mail

  21       you forwarded earlier that day?

  22                  A.    Yeah.    You would have to ask Doug that.

  23       I have no idea what two reports he's talking about.

  24                  Q.    You didn't have an understanding on

  25       your own?



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   1                  A.    All I know is the investigation was an

   2       ethics violation so I would assume, well, I'm not

   3       going to assume, but you would have to ask Doug.

   4                  Q.    Was the report, did the report have

   5       anything to do with Mr. Lankford's reliability, the

   6       report attached to this document, the two-page

   7       report from David Luke?

   8                  A.    I don't recall.

   9                  Q.    Well, it had to do with

  10       misappropriation of product, correct?

  11                  A.    Yeah.

  12                  Q.    And so, you could review the report, if

  13       you would like, but I would just like to know if

  14       you think there's anything in that report that

  15       deals with reliability?

  16                  A.    Oh, yes.      If you can't trust, if

  17       someone's misappropriating funds, to me, that's,

  18       you can't rely on them.

  19                  Q.    Okay.    And did you respond to Doug

  20       Oehler's e-mail and state, I agree we need to be

  21       careful how we handle due to his rehab and

  22       lawsuits, but I think we have enough to dismiss.

  23                                Did I read that correctly?

  24                  A.    Correct.

  25                  Q.    What did you mean by we need to be



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   1       careful how we handle due to his rehab and

   2       lawsuits?

   3                  A.    Because when I informed David Luke of

   4       him going into rehab, that's when he said to hold

   5       off.    We cannot do anything until he gets back and

   6       the investigation is done.

   7                  Q.    Okay.    And what is lawsuits, rehab and

   8       lawsuits?

   9                  A.    When I, as I stated, when I approached

  10       David Luke, he said we can't do anything due to

  11       lawsuits until he gets back.

  12                  Q.    And then you finished the sentence, but

  13       I think we have enough to dismiss.                What did you

  14       mean by that?

  15                  A.    When someone steals, that's enough to

  16       dismiss.

  17                  Q.    So based on the contents of the report,

  18       you thought, you think we have enough to dismiss?

  19                  A.    Yes.    I thought we had enough to

  20       dismiss due to the investigation.

  21                  Q.    But you hadn't talked with Mr. Lankford

  22       at that point yet, correct?

  23                  A.    No.

  24                  Q.    So was a final decision made at that

  25       time?    Do you know?



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   1                  A.    To the best of my knowledge, the final

   2       decision was made when I received the e-mail from

   3       Walt Rodgers.

   4                  Q.    At the bottom of the page on Exhibit

   5       11, your e-mail after you got the David Luke report

   6       says, David Luke to send more information.                   Do you

   7       see that?

   8                  A.    Yes.

   9                  Q.    Okay.    Do you remember what information

  10       Mr. Luke was going to send?

  11                  A.    To the best of my knowledge, further

  12       information on the investigation.

  13                  Q.    Had you seen any documentation as of

  14       February 5th, 2014, any additional information at

  15       that point?

  16                  A.    All the documentation I received was

  17       through e-mail.

  18                                (WHEREUPON, Plaintiff's Exhibit 12

  19       was marked for identification.)

  20       BY MR. MANSELL:

  21                  Q.    I'm going to hand you what's been

  22       marked as Plaintiff's Exhibit 12.                Let me know when

  23       you have had a chance to review Plaintiff's Exhibit

  24       12.

  25                  A.    Okay.



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   1                  Q.    All right.      The first page is an e-mail

   2       from David Luke to Rodgers, Doug and Dan Oehler,

   3       correct?

   4                  A.    Correct.

   5                  Q.    And the attachments are, well, have you

   6       seen these attachments before?

   7                  A.    This e-mail I have not seen, but he did

   8       show me at one time, and I don't remember when or

   9       how, I've seen this before.

  10                  Q.    Who's shown you it?

  11                  A.    David Luke did.

  12                  Q.    And you're referring to the second

  13       page?

  14                  A.    Yes.

  15                  Q.    Okay.    And what about the third page?

  16                  A.    I do not remember seeing those.

  17                  Q.    What about the fourth page?

  18                  A.    At one time, I do remember seeing that,

  19       yes.

  20                                MR. MANSELL:       Let's take a quick

  21       break.     I want to make a copy of an exhibit.

  22                                (WHEREUPON, a recess was taken.)

  23                                (WHEREUPON, Plaintiff's Exhibit 13

  24       was marked for identification.)

  25       BY MR. MANSELL:



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   1                  Q.    Mr. Downs, we are back on the record,

   2       and I've handed you what's been marked as

   3       Plaintiff's Exhibit 13.            Let me know when you've

   4       had a chance to review that.

   5                  A.    (Witness reviews document.)             Okay.

   6                  Q.    You talked about receiving an e-mail

   7       from Walt Rodgers citing a portion of the employee

   8       handbook, right?

   9                  A.    Correct.

  10                  Q.    And I want to direct you to the middle

  11       of the first page here.            There's an e-mail from

  12       Walt Rodgers to yourself and David Luke copied on

  13       it.    Do you see that?

  14                  A.    Yes.

  15                  Q.    And is this the e-mail that you've been

  16       referring to?

  17                  A.    Yes.

  18                  Q.    So you know, at least at this point,

  19       the decision in your mind was final?

  20                  A.    Yes.

  21                  Q.    And then if, you don't know if maybe

  22       the decision had been made and finalized prior to

  23       this; is that accurate?

  24                  A.    That is accurate.

  25                  Q.    And it says, termination strategy.                Do



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   1       you see that?

   2                  A.    Yes.

   3                  Q.    Did you talk termination strategy with

   4       Mr. Rodgers?

   5                  A.    I do not recall a termination strategy,

   6       no.

   7                  Q.    Do you recall any further participation

   8       on your end regarding the misappropriation issue

   9       from the time you got this e-mail on February 6th

  10       until the time you met with Mr. Lankford?

  11                  A.    Do I recall any further discussions on

  12       the investigation or termination?

  13                  Q.    Investigation.

  14                  A.    No.

  15                  Q.    And so, this is on February 6th.               You

  16       forwarded on February 7th, Dan Oehler confirms

  17       later that day.         Do you see that?

  18                  A.    Yes.

  19                  Q.    And then from that point until the time

  20       you met, physically met with Mr. Lankford, there

  21       was no other involvement on your end?

  22                  A.    No.

  23                  Q.    All right.      Tell me what you did to

  24       prepare for the termination meeting?                 Did you do

  25       anything, review anything at that point?



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   1                  A.    I do not recall what I reviewed.               David

   2       Luke and myself met in the conference room before

   3       Paul got there.         We had all the paperwork

   4       necessary, and I don't remember if I read through

   5       the investigation again, but it was not much

   6       preparation.       It's not like we sat down and had a

   7       strategy.

   8                               MR. MANSELL:        Can we go off the

   9       record real quick?

  10                               (WHEREUPON, discussion off the

  11       record was had.)

  12       BY MR. MANSELL:

  13                  Q.    You said that you and Mr. Luke met and

  14       prepared and you had all the appropriate paperwork?

  15                  A.    Yes, there was really no strategy.                It

  16       was black and white.          He stole from the company.

  17       It was pretty easy.

  18                  Q.    And did you fill out the exit interview

  19       paperwork?

  20                  A.    Yes.

  21                  Q.    And did you do that before the meeting,

  22       during the meeting, after the meeting?

  23                  A.    I'm not sure what parts were filled out

  24       when.    I do not recall.

  25                  Q.    How long did the meeting last for?



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   1                  A.    To the best of my knowledge, 45

   2       minutes.

   3                  Q.    Who did most of the talking?              Was it

   4       you or Mr. Luke or a combination?

   5                  A.    Mr. Luke did most of the talking.

   6                  Q.    Anything related to the investigation,

   7       would you be getting that information from Mr. Luke

   8       anyway?

   9                  A.    Yes.    He went through the investigation

  10       with Mr. Lankford.

  11                  Q.    Are you aware of any other sales reps

  12       that have either worked for you or you have

  13       knowledge of with RelaDyne that have been

  14       terminated for using samples for personal use or

  15       something similar to what Mr. Lankford did in this

  16       situation?

  17                  A.    Since I've been with RelaDyne, no.

  18       Prior to that, I don't have any idea.

  19                  Q.    And when you started with RelaDyne was

  20       when?

  21                  A.    Around February, it's been over two

  22       years.     It'll be three years February 1st, I

  23       believe, of 2016.

  24                  Q.    The e-mail on Exhibit 13 where Dan

  25       Oehler is confirming to move forward with the



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   1       termination, is that something that Dan Oehler

   2       would have to authorize in the situation?                   What did

   3       you understand him saying, confirmed, to mean?

   4                  A.    Confirmed as far as Walt's response.

   5                  Q.    He's agreeing?

   6                  A.    Right.     Correct.      Is my interpretation.

   7       You would have to ask Dan.

   8                  Q.    Did anyone ever call you after Mr.

   9       Lankford left RelaDyne for any reference, job

  10       reference about Mr. Lankford?

  11                  A.    No job references.

  12                  Q.    All right.      Are there any conversations

  13       or meetings that you had related to Mr. Lankford's

  14       rehab or leave of absence, medical leave of absence

  15       that we haven't discussed here today?

  16                  A.    To the best of my knowledge, no.

  17                  Q.    Okay.    Is there any conversations or

  18       meetings that you had with anybody from RelaDyne

  19       about Mr. Lankford's termination on

  20       misappropriation of product that we haven't

  21       discussed here today?

  22                  A.    To the best of my knowledge, no.

  23                                (WHEREUPON, Plaintiff's Exhibit 14

  24       was marked for identification.)

  25       BY MR. MANSELL:



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   1                  Q.     I'm going to hand you what's been

   2       marked as Plaintiff's Exhibit 14.                Let me know when

   3       you've had a chance to look over this e-mail.

   4                  A.     (Witness reviews document.)            I have.

   5                  Q.     And I want to direct you to the middle

   6       of the page.        Ann Boeckermann asks you on February

   7       17th, how did it go?          Do you see that?

   8                  A.     Yes.

   9                  Q.     I'm assuming she's referring to the

  10       termination meeting?

  11                  A.     I would assume, but I do not know.

  12                  Q.     Is that what you assumed when you

  13       responded above?

  14                  A.     Yes.

  15                  Q.     And you say, not bad.          Poor thing

  16       looked like he was high on something.                 Feel sorry

  17       for him.        Do you see that?

  18                  A.     Yes.

  19                  Q.     Why do you think Mr. Lankford looked

  20       high?    What was your perception?

  21                  A.     I mean, his eyes did not look right,

  22       his actions.        I was very scared for him.             I noted

  23       that on his exit interview, and I was, almost

  24       wanted to call the cops.            I was very worried as far

  25       as liability of him leaving and maybe getting into



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   1       an accident.       It was, I was scared for him.

   2                  Q.    What do you mean by high?

   3                  A.    Like, we did not, I did not smell

   4       alcohol, but he looked like he was high.                   I mean,

   5       he was fidgety, just like that's, high on

   6       something, on a pill.           I don't know.        It could have

   7       been, I don't think it was alcohol, but it was,

   8       something was, in my opinion, he did not seem 100

   9       percent there.

  10                  Q.    And is that the first time you ever saw

  11       Mr. Lankford like that?

  12                  A.    Yes.

  13                  Q.    And you were aware that Mr. Lankford

  14       had a drinking problem prior to him going to

  15       Florida; is that right?

  16                  A.    I had heard, yes, some.            Tim had told

  17       me, when I had told Tim that he was in rehab that,

  18       because Tim was the GM before me, that he had gone

  19       in before.

  20                  Q.    While he was an employee of Oil

  21       Distributing or sometime before you got there?

  22                  A.    Correct.

  23                  Q.    And Tim had knowledge of that and told

  24       you?

  25                  A.    Correct.



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   1                  Q.    All right.      Any other conversations

   2       about Mr. Lankford's rehab either the time in 2014

   3       or his previous time?

   4                  A.    No.

   5                  Q.    Did you have any issue or concern that

   6       Mr. Lankford did not finish his rehab program?

   7                  A.    Did I have any concerns?            To me, that

   8       didn't even enter my mind because once the

   9       investigation was done, it really did not matter.

  10                  Q.    And you weren't his treating physician

  11       to know whether or not he was able to return to

  12       work or what his condition was, right?

  13                  A.    I saw no paperwork.

  14                               MR. MANSELL:        All right.       I don't

  15       have anything further.

  16                               MR. WINTERS:        I have nothing.            We

  17       will have signature if it's ordered.

  18                               (WHEREUPON, the deposition

  19       concluded at 12:59 p.m.)

  20

  21                          *        *       *        *       *

  22

  23
                                      _____________________________
  24                                          CHARLES ANTHONY DOWNS

  25



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   1                             C E R T I F I C A T E

   2

   3       STATE OF OHIO
                           SS.
   4       COUNTY OF MONTGOMERY

   5

   6                 I, Lainey Fergueson, the undersigned, a
           Certified Shorthand Reporter, and Notary Public
   7       within and for the State of Ohio, do hereby certify
           that before the giving of aforesaid deposition said
   8       CHARLES ANTHONY DOWNS, was by me first duly sworn
           to state the truth, the whole truth, and nothing
   9       but the truth; that the foregoing is the deposition
           given at said time and place by said CHARLES
  10       ANTHONY DOWNS; that said deposition was taken in
           stenotypy by the court reporter and transcribed
  11       into typewriting under her supervision; that said
           transcribed deposition was submitted to the witness
  12       for his examination; the court reporter was neither
           a relative of nor attorney for any of the parties
  13       to this case nor relative of nor employee for any
           of the counsel; neither the court reporter nor the
  14       affiliated court reporting firm has a financial
           interest under a contract as defined in Civil Rule
  15       28(D).

  16                 IN WITNESS WHEREOF, I hereunto set my
           hand and official seal of office this 31st day of
  17       August, 2015.

  18

  19
                                     _______________________________
  20                                 LAINEY FERGUESON, CSR
                                     Notary Public, State of Ohio
  21                                 My Commission Expires 12-24-18

  22

  23

  24

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